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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:
                                                          Chapter 11
                                       1
 Lordstown Motors Corp, et al.,
                                                          Case No. 23-10831 (MFW)
                            Debtors.
                                                          (Jointly Administered)

                                                          Re: Docket No. 956



    CERTIFICATE OF NO OBJECTION REGARDING THIRD MONTHLY FEE
 APPLICATION OF WOMBLE BOND DICKINSON (US) LLP COMPENSATION FOR
 SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES AS CO-COUNSEL
  FOR THE DEBTORS AND DEBTORS IN POSSESSION FOR THE PERIOD FROM
        DECEMBER 1, 2023 TO AND INCLUDING DECEMBER 31, 2023

          The undersigned hereby certifies that, as of the date hereof, they have received no answer,

objection, or other responsive pleading with respect to the third monthly fee application for

compensation and reimbursement of expenses (the “Monthly Application”) of Womble Bond

Dickinson (US) LLP (the “Applicant”) listed on Exhibit A attached hereto. The Monthly

Application was filed with the United States Bankruptcy Court for the District of Delaware (the

“Court”) on February 7, 2024. The undersigned further certifies that they have reviewed the

Court’s docket in this case and no answer, objection or other responsive pleading to the Monthly

Application appears thereon. Pursuant to the Notice of Fee Application filed with the Monthly

Application, objections to the Monthly Application were to be filed and served no later than

February 27, 2024 at 4:00 p.m. (ET). The Monthly Application was filed and served in

accordance with the Order Establishing Procedures for Interim Compensation and




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           The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.


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Reimbursement of Expenses for Chapter 11 Professionals and Committee Members, entered July

25, 2023 [D.I. 181] (the “Interim Compensation Order”).

        Consequently, pursuant to the Interim Compensation Order, the debtors and debtors in

possession in the above-captioned cases are authorized to pay Applicant eighty percent (80%) of

the fees and one hundred percent (100%) of the expenses requested in the Monthly Application

upon the filing of this certification without the need for a further order of the Court. A summary

of the fees and expenses sought by Applicant is annexed hereto as Exhibit A.

Dated: February 28, 2024
Wilmington, Delaware

Respectfully submitted,

 /s/ Morgan L. Patterson
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                                                         EXHIBIT A

                                                 Professional Fees and Expenses
                                                    Monthly Fee Application

    Applicant         Fee Application    Total Fees     Total        Objection       Amount of Amount of         Amount of
                       Period, Filing    Requested    Expenses       Deadline:          Fees      Expenses      Holdback Fees
                         Date, D.I.                   Requested                      Authorized Authorized       Requested
                                                                                     to be Paid to be Paid at
                                                                                      @ 80%         100%
 Womble Bond                12/1/23 –    $44,055.50     $0.00         2/27/24        $35,244.40     $0.00         $8,811.11
 Dickinson (US)             12/31/23
      LLP                    D.I. 956




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